            Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 1 of 21




                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

JONATHAN WEAN,
                                                      Case No.
                          Plaintiff,
                                                      JURY TRIAL DEMANDED
              v.

HARVEST HEALTH & RECREATION INC.,
MARK N. BARNARD, STEVEN M. WHITE,
ELROY P. SAILOR, ANA DUTRA, EULA L.
ADAMS, and MICHAEL SCOTT ATKISON,


                         Defendants.


  COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff Jonathan Wean (“Plaintiff”), by his undersigned attorneys, for this Complaint

against Defendants, alleges upon personal knowledge with respect to himself, and upon

information and belief based upon, inter alia, the investigation of counsel, as to all other allegations

herein, as follows:

                                       NATURE OF THE ACTION

       1.        This is an action brought by Plaintiff against Harvest Health & Recreation Inc.

(“Harvest” or the “Company”) and the members of the Company’s board of directors (the “Board”

or the “Individual Defendants” and, together with Harvest, the “Defendants”) for their violations

of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C.

§§ 78n(a), 78t(a) and Rule 14a-9, 17 C.F.R. § 240.14a-9. Plaintiff’s claims arise in connection

with the proposed acquisition of Harvest by Trulieve Cannabis Corp. (“Trulieve”) (the “Proposed

Transaction”).

       2.        On May 10, 2021, Harvest entered into an arrangement agreement (the

“Arrangement Agreement”) with Trulieve, pursuant to which Harvest’s shareholders will receive


                                                  1
            Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 2 of 21




0.1170 Trulieve Subordinate Voting Shares for each outstanding Harvest Subordinate Voting

Share that they own (the “Exchange Ratio”). Upon the closing of the Proposed Transaction,

Harvest shareholders are expected to own approximately 26.7% of the post-close combined

company.

       3.      In order to convince the Company’s public shareholders to vote in favor of the

Proposed Transaction, on July 13, 2021, Defendants authorized the filing of a definitive Schedule

14A Proxy Statement with the SEC (the “Proxy”). As described below, the Proxy is materially

incomplete and misleading in violation of Sections 14(a) and 20(a) of the Exchange Act. In

particular, the Proxy contains materially incomplete and misleading information concerning: (i)

the process that culminated in the Proposed Transaction, and (ii) one of the Company’s financial

advisors, Haywood Securities Inc. (“Haywood”).

       4.      On July 21, 2021, Plaintiff sent amicable demand to the Company outlining these

issues. To date, the Company has not responded. What is more, the special meeting of the

Company’s shareholders to vote on the Proposed Transaction is scheduled for August 11, 2021

(the “Shareholder Vote”), and it is imperative that the material information omitted from the Proxy

be disclosed prior to the Shareholder Vote, so the Company’s shareholders can properly exercise

their corporate voting rights.

       5.      For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-9. Plaintiff

seeks either to enjoin Defendants from taking any steps to consummate the Proposed Transaction

unless and until the material information discussed below is disclosed to the Company’s

shareholders sufficiently in advance of the upcoming Shareholder Vote or, in the event the

Proposed Transaction is consummated, to recover damages resulting from the Defendants’




                                                2
             Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 3 of 21




violations of the Exchange Act.

                                  JURISDICTION AND VENUE

       6.       This Court has jurisdiction over all claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the

1934 Act and Rule 14a-9.

       7.       Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over each Defendant by this Court permissible

under the traditional notions of fair play and substantial justice. “Where a federal statute such as

Section 27 of the [Exchange] Act confers nationwide service of process, the question becomes

whether the party has sufficient contacts with the United States, not any particular state.” Sec.

Inv’r Prot. Corp. v. Vigman, 764 F.2d 1309, 1315 (9th Cir. 1985). “[S]o long as a defendant has

minimum contacts with the United States, Section 27 of the Act confers personal jurisdiction over

the defendant in any federal district court.” Id. at 1316.

       8.       Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as 28 U.S.C. § 1391, because Defendants are found or are inhabitants or transact

business in this District. Indeed, the Company’s Subordinate Voting Shares trade on the OTCQX,

which is headquartered in this District. See, e.g., United States v. Svoboda, 347 F.3d 471, 484

n.13 (2d Cir. 2003) (collecting cases).

                                             PARTIES

        9.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of Harvest Subordinate Voting Shares.




                                                 3
             Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 4 of 21




           10.   Defendant Harvest is incorporated under the Business Corporations Act of British

Columbia, Canada. The Company’s registered office is located at 885 W. Georgia Street, Suite

2200, Vancouver, British Columbia V6C 3E8 Canada, and it maintains its principal executive

office at 1155 W. Rio Salado Parkway, Suite 201, Tempe, Arizona 85281. The Company is a

reporting issuer in Canada, with its Subordinate Voting Shares listed for trading on the Canadian

Securities Exchange (the “CSE”) under the symbol “HARV.” The Company is also a U.S.

domestic reporting issuer registered with the SEC, and its Subordinate Voting Shares trade on the

OTCQX tier of the OTC Markets (the “OTCQX”) under the symbol “HRVSF.”

           11.   Defendant Mark N. Barnard (“Barnard”) is, and has been at all relevant times, the

Chairman of the Board of Harvest.

           12.   Defendant Steven M. White (“White”) is, and has been at all relevant times, the

Chief Executive Officer (“CEO”) and a director of Harvest. White is also a co-founder of Harvest.

           13.   Defendant Elroy P. Sailor is, and has been at all relevant times, a director of

Harvest.

           14.   Defendant Ana Dutra is, and has been at all relevant times, a director of Harvest.

           15.   Defendant Eula L. Adams is, and has been at all relevant times, a director of

Harvest.

           16.   Defendant Michael Scott Atkison (“Atkison”) is, and has been since May 2020, a

director of Harvest

           17.   Defendants identified in paragraphs 11 through 16 are collectively referred to

herein as the “Board” or the “Individual Defendants,” and together with the Company, the

“Defendants.”




                                                  4
           Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 5 of 21




                                  SUBSTANTIVE ALLEGATIONS

I.        Relevant Corporate Background

          18. Harvest is one of the largest multi-state, vertically integrated operators in the

United States cannabis industry that operates from “seed to sale.” The Company was established

in Arizona, where it received its first license in 2012. The Company has since expanded its

operational footprint to nine U.S. markets, including Arizona, California, Colorado, Florida,

Maryland, Nevada, North Dakota, Pennsylvania, and Utah, and it also has two provisional licenses

in Massachusetts.

          19. In November 2018, the Company became a publicly-traded company through a

series of transactions with RockBridge Resources Inc. In connection therewith, the Company

implemented a three-class voting structure, including the creation of a new class of subordinated

voting shares (the “Subordinate Voting Shares”), a new class of multiple voting shares (the

“Multiple Voting Shares”), and a new class of super voting shares (the “Super Voting Shares”).

Each Subordinate Voting Share carries the right to one vote per share on all matters to be voted on

by shareholders; each Multiple Voting Share carries the right to 100 votes per share on all matters

to be voted on by shareholders; and each Super Voting Share carries the right to 200 votes per share

on all matters to be voted on by shareholders.

          20. Shortly after becoming a publicly-traded company, Harvest engaged in an

ambitions acquisition strategy – that ultimately backfired. In March 2019, the Company announced

that it was acquiring Verano Holdings for $850 million – one of the largest acquisitions ever

announced in the marijuana industry. But that deal was terminated a year later in March 2020. In

April 2019, Harvest announced the acquisition of CannaPharmacy, Inc., but then terminated the

deal in November 2019. Similarly, in February 2019, Harvest announced that it was acquiring




                                                 5
            Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 6 of 21




Falcon International Corp. (“Falcon”), and then in January 2020 filed a lawsuit against Falcon

alleging material misstatements by Falcon and demanding, in part, over $50 million that Harvest

had loaned to Falcon and paid to certain of Falcon’s control persons in connection with that deal,

thus raising questions regarding the Company’s due diligence processes and oversight. Then, in

July 2019, Harvest announced that it had entered into a term sheet for a secured term loan of up to

US$225 million from an investment fund managed by Torian Capital Partners, but that deal

likewise fell apart in November 2019.

           21. In March 2020, Harvest announced that Jason Vedadi (“Vedadi”), a co-founder of

Harvest and then Executive Chairman of the Board, was stepping down immediately. In connection

with his resignation, Vedadi agreed to (i) exchange 1,000,000 Super Voting Shares held by Karma

Capital LLC, a company controlled by Vedadi, for 10,200 Multiple Voting Shares held by Razor

Investments, LLC (a company controlled by Individual Defendant White, a co-founder and the

CEO of Harvest) and (ii) forego 2,500,000 stock options and any cash compensation provided for

in his employment agreement. These transactions had the effect of consolidating voting control

of Harvest in Individual Defendant White: as of December 31, 2020, White held approximately

52.46% of the voting power of Harvest, and thus has “the ability to control the outcome of all

matters submitted to [Harvest] shareholders for approval, including the election and removal of

directors and any arrangement or sale of all or substantially all of [the Company’s] assets.” 1

           22. Also notably, White is party to a three-year employment agreement with Harvest,

commencing on or about November 15, 2018, which provides for certain termination and change

of control benefits, including in the event of a change of control, five times his annual base salary,



1
         In connection with the Proposed Transaction, “Harvest Shareholders holding more than 50% of the voting
power of the issued and outstanding Harvest Shares have entered into voting support agreements with Trulieve to vote
in favor of the Transaction.”


                                                        6
           Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 7 of 21




two years bonus, and health benefits for 24 months. White also holds 2,500,000 Harvest Options,

which were (and remain) substantially underwater:




On December 1, 2020, the approximate commencement of the Company’s sales process, described

below, the Company’s shares on the OTCQX closed at $2.02 per share, up from its March 18, 2020

low of $0.46 per share; on May 7, 2021, the last trading day before the Arrangement Agreement

was executed, the closing price was $3.58 per share.

          23. Accordingly, as described below, following the Company’s recent troubled past,

Individual Defendant White consolidated power and control over the Company and steered it into

a sale – via a flawed and inadequate process – that would result in immediate personal financial

benefits as a result of a change of control transaction and conversion of his existing underwater

equity awards into equity in Trulieve.

II.       Events Leading to the Execution of the Arrangement Agreement

          24. The Proxy indicates that, though it did not conduct a formal sales process, the

Company was regularly in discussions with a variety of different counterparties with respect to

strategic transactions and entered into confidentiality agreements with other potential

counterparties, but which discussions did not lead to any transaction. Importantly, however, the

Proxy fails to disclose whether these confidentiality agreements contained standstill

provisions and, if so, whether the standstill provisions were subject to “don’t ask, don’t

waive” (“DADW”) conditions and/or are still in effect or fell away upon the execution of the

Arrangement Agreement.



                                                7
            Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 8 of 21




           25. According to the Proxy, the Proposed Transaction had its particular genesis in

“early December 2020,” when the CEO of Trulieve contacted White to discuss a transaction

between their companies. Apparently eager for transaction, less than three days later, on December

3, 2020, White caused Harvest and Trulieve to enter into a confidentiality agreement. Over the next

month, White continued discussions with Trulieve, which discussions included high level business

discussions with the companies’ respective CFOs and Trulieve’s financial advisor. On January 8,

2021, Trulieve presented a draft letter of intent to Harvest. Between January 8 and January 11,

2021, the CEO of each of Trulieve and Harvest discussed the draft letter of intent, with a focus on

considering the refinancing opportunities for Harvest.

           26. Then, on January 11, 2021, Trulieve sent Harvest a revised draft of a preliminary

letter of intent outlining its initial proposal. The Proxy does not disclose the terms of this initial

proposal (or the prior draft letter of intent). Discussions and due diligence investigations ensued

between the senior management teams of Harvest and Trulieve, and certain undisclosed members

of the Board became engaged in these discussions. Notably, it is unclear from the Proxy when the

Board met to discuss the Company’s interactions with Trulieve. Rather, on January 13, 2021, the

Board met for the apparent first time, at which time it noted receipt of the letter of intent from

Trulieve and authorized management to respond to the draft terms.

           27. On January 22, 2021, the same day that recreational sales of cannabis began in

Arizona, White and the Company’s CFO briefed Dan Reiner and Individual Defendant Atkison 2

on the Trulieve letter of intent and the commercial issues between the companies. Mr. Reiner holds




2
          Atkison was appointed to the Board in connection with the Company’s March 2020 merger with Interurban
Capital Group, Inc (“ICG”). As noted below, Atkison would later be appointed to the Harvest Special Committee.
Notably, following the Company’s acquisition of ICG, in June 2020, Harvest sold ICG to a wholly owned subsidiary
of Hightimes Holding Corp. following the spinoff of certain assets. The Company is also engaged in litigation related
to its acquisition of ICG.


                                                        8
           Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 9 of 21




approximately 4.7% of the voting stock in the Company and is described in the Proxy as a “Special

Advisor” to the Company. The Proxy does not disclose why these two individuals were

separately briefed on the discussions and “commercial issues” between Harvest and Trulieve,

and Harvest’s other public filings make no reference to Mr. Reiner as a “Special Advisor” to

the Company.

          28. Thereafter, and through February 2021, the parties continued discussions and

negotiations, including the exchange of financial analyses supporting the parties’ respective

positions on the proposal price of a transaction. Notably, it does not appear that Harvest had

engaged, and/or was being advised by, a financial advisor throughout these negotiations.

Nevertheless, on February 26, Trulieve transmitted to Harvest a revised non-binding proposal for

an all-stock acquisition, which proposal also contemplated a 45-day exclusivity period (the

“Proposal Letter”). Again, the Proxy fails to disclose the value of this proposal. Also, on

February 23 and 24, 2021, White met with representatives of Company A to discuss a potential

transaction between the two companies, as well as management and corporate philosophy.

          29. On March 1, 2021, the Board convened with “Special Advisor Dan Reiner” to

discuss the Proposal Letter. White provided an overview of Trulieve’s proposal and his discussions

with Company A. Thereafter the Board determined that Trulieve “offered enhanced value for

Harvest Shareholders relative to a proposed combination with Company A” and instructed White

to continue to negotiate the terms of Trulieve’s proposal. Notably, though, the Proxy does not

disclose any information regarding the valuation of the proposal conveyed by Company A to

Harvest (or the valuation of Trulieve’s proposal). Nevertheless, on March 7, 2021, Harvest

entered into the Proposal Letter with Trulieve.

          30. On March 11, 2021, Trulieve provided Harvest with an initial draft of the




                                                  9
          Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 10 of 21




Arrangement Agreement. On March 12, 2021, the “Board met and received and considered, among

other things, an update on discussions with Trulieve” and determined to “consider the formation

of any committees and appointment of outside advisors to assist with the potential transaction.” On

March 14, 2021, the Board met with Harvest management and Harvest’s legal counsel and

authorized the formation of the Harvest Special Committee, which consisted of Individual

Defendants Barnard, as Chair, Eula L. Adams, Atkison, and Ana Dutra. The mandate of the Harvest

Special Committee included the review and analysis of the Trulieve Proposal Letter, the

engagement of advisors to assist in this work and the consideration of alternatives to the proposal,

and making any recommendations in relation thereto to the Harvest Board. It is unclear whether

the Special Committee had the authority to reject the Trulieve Proposal. The Board also

received an update regarding potential financial advisors to Harvest in connection with the

transaction and authorized engagement with Moelis & Company LLC (“Moelis”) as financial

advisor to Harvest, which Harvest formally engaged on April 14, 2021.

          31. Following the March 14, 2021 meeting, and through May 9, 2021, Harvest,

Trulieve, and their advisors engaged in due diligence and negotiations toward a transaction.

Notably, despite being empowered and directed to consider alternatives to the Proposal Letter, the

Special Committee repeatedly authorized the extension of exclusivity with Trulieve, and,

consequently, it does not appear that the Company ever considered any other strategic alternative.

On April 26, 2021, the Special Committee authorized the retention of a second financial advisor

and, on April 30, 2021, entered into a formal engagement letter with Haywood. Haywood delivered

its fairness opinion to the Board on May 9, 2021.

          32. On May 10, 2021, the Board executed the Arrangement Agreement and the parties

jointly announced the Proposed Transaction. The press release provided in part:




                                                 10
  Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 11 of 21




Trulieve Announces the Largest US Cannabis Transaction; Acquisition of
  Harvest Health & Recreation Inc., Creates the Most Profitable Multi-
        State Operator in the World’s Largest Cannabis Market

                                       ***

Tallahassee, FL, and Phoenix, AZ, May 10, 2021 - Trulieve Cannabis Corp.
(“Trulieve” or the “Company”) (CSE: TRUL) (OTC: TCNNF) and Harvest
Health & Recreation Inc. (“Harvest”) (CSE: HARV, OTCQX: HRVSF) are
pleased to announce they have entered into a definitive arrangement agreement
(the “Arrangement Agreement”) pursuant to which Trulieve will acquire all
of the issued and outstanding subordinate voting shares, multiple voting shares
and super voting shares (the “Harvest Shares”) of Harvest (the
“Transaction”). Under the terms of the Arrangement Agreement, shareholders
of Harvest (the “Harvest Shareholders”) will receive 0.1170 of a subordinate
voting share of Trulieve (each whole share, a “Trulieve Share”) for each
Harvest subordinate voting share (or equivalent) held (the “Exchange Ratio”),
representing total consideration of approximately $2.1 billion based on the
closing price of the Trulieve Shares on May 7, 2021.

Trulieve, a leading multi-state operator with a focus on the northeast and
southeast regions of the United States, and Harvest, a leading multi-state
operator with a focus on the west coast and northeast regions of the United
States, have built deep, vertically integrated operations in their key markets,
becoming leading operators in the United States, the world’s largest regulated
cannabis market.

Upon completion of the Transaction, as well as the closing of other previously
announced acquisitions by Harvest and Trulieve, the combined business will
have operations in 11 states, comprised of 22 cultivation and processing
facilities with a total capacity of 3.1 million square feet, and 126 dispensaries
serving both the medical and adult-use recreational cannabis markets.

                                       ***

Management Commentary

“Today’s announcement is the largest and most exciting acquisition so far in our
industry, creating the most profitable public multi-state operator. Importantly,
our companies share similar customer values with a focus on going deep in core
markets. This combination offers us the opportunity to leverage our respective
strong foundations and propel us forward with an unparalleled platform for
future growth,” stated Kim Rivers, Chief Executive Officer of Trulieve.
“Harvest provides us with an immediate and significant presence in new and
established markets and accelerates our entry into the adult use space in Arizona.
Trulieve and Harvest are leaders in our markets, recognized for our innovation,


                                         11
  Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 12 of 21




brands, and operational expertise with true depth and scale in our businesses.
We look forward to providing best-in- class service to patients and customers
on a broader national scale as we create an iconic US cannabis brand.”

“We are thrilled to be joining Trulieve, a company that has achieved unrivaled
success and scale in its home state of Florida,” said Steve White, Chief
Executive Officer of Harvest. “As one of the oldest multi- state operators, we
believe our track record of identifying and developing attractive market
opportunities combined with our recent successful launch of adult use sales in
Arizona will add tremendous value to the combined organization as it continues
to expand and grow in the coming years.”

Terms of the Transaction

The Transaction will be effected by way of a plan of arrangement pursuant to
the Business Corporations Act (British Columbia). Under the terms of the
Arrangement Agreement, Trulieve will acquire all of the issued and outstanding
Harvest Shares, with each Harvest Shareholder receiving 0.1170 of a Trulieve
Share for each Harvest Share, implying a price per Harvest Share of US$4.79,
which represents a 34% premium to the May 7, 2021 closing price of the Harvest
Shares. After giving effect to the Transaction, Harvest Shareholders will hold
approximately 26.7% of the issued and outstanding pro forma Trulieve Shares
(on a fully-diluted basis). The Exchange Ratio is subject to adjustment in the
event that Harvest completes certain interim period refinancing measures, with
the potential adjustment in proportion to the incremental costs from such
financing relative to the Transaction value. Additional details of the Transaction
will be described in the management information circular and proxy statement
(the “Circular”) that will be mailed to Harvest Shareholders in connection with
a special meeting of Harvest Shareholders (the “Meeting”) expected to be held
in the third quarter to approve the Transaction.

The Transaction has been unanimously approved by the Boards of Directors of
each of Trulieve and Harvest. Harvest Shareholders holding more than 50% of
the voting power of the issued and outstanding Harvest Shares have entered into
voting support agreements with Trulieve to vote in favor of the Transaction.

The Arrangement Agreement provides for certain customary provisions,
including covenants in respect of non-solicitation of alternative transactions, a
right to match superior proposals, US$100 million reciprocal termination fees
under certain circumstances and reciprocal expense reimbursement provisions
in certain circumstances.

The Transaction is subject to, among other things, the approval of the necessary
approvals of the Supreme Court of British Columbia, the approval of two-thirds
of the votes cast by Harvest Shareholders at the Special Meeting, receipt of the
required regulatory approvals, including, but not limited, approval pursuant to



                                         12
          Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 13 of 21




       the Hart–Scott–Rodino Antitrust Improvements Act, and other customary
       conditions of closing. Approval of Trulieve Shareholders is not required.
       Additional details of the Transaction will be provided in the Circular.

       The Board of Directors of Harvest (the “Harvest Board”) has unanimously
       determined, after receiving financial and legal advice and following the receipt
       and review of a unanimous recommendation of a special committee of
       independent directors (the “Special Committee”), that the Transaction is in the
       best interests of Harvest, and that, on the basis of the Fairness Opinion (as
       defined herein), that the consideration to be received by the Harvest
       Shareholders is fair, from a financial point of view, to the Harvest Shareholders.

       The Harvest Board unanimously recommends that Harvest Shareholders vote in
       favour of the resolution to approve the Transaction. The Special Committee
       obtained a fairness opinion from Haywood Securities Inc., (the “Fairness
       Opinion”) which provides that, as at the date of such opinion and based upon
       and subject to the assumptions, procedures, factors, limitations and
       qualifications set forth therein, the consideration to be received by the Harvest
       Shareholders pursuant to the Transaction is fair, from a financial point of view,
       to the Harvest Shareholders.

       33.     Also on May 10, 2021, the Company reported its first quarter financial results,

reporting revenue of $88.8 million, up 101% from the first quarter 2020 and 27% sequentially,

and Adjusted EBITDA of $26.9 million, up 196% compared to $9.1 million in the fourth quarter

of 2020, primarily due to the launch of recreational sales in Arizona, and which caused the

Company to raise its full year 2021 revenue target. Therefore, the announcement of the Proposed

Transaction artificially capped the share price of Harvest, which has also since declined as a result

of Trulieve’s performance in the market:




                                                 13
         Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 14 of 21




       34.     In sum, following the Company’s disastrous 2019-2020 and failed M&A activity,

it appears that White consolidated voting power and pushed the Company into a sale with Trulieve

on unfair economic terms. Indeed, it appears as though White controlled negotiations between the

Company and potential transaction partners until the Company executed the Proposal Letter and

entered into exclusivity with Trulieve. Only then, after the transaction’s terms were already set,

did the Board establish the Special Committee to aid it in the evaluation of the Proposed

Transaction. Finally, as described below, the Proxy fails to disclose sufficient information

necessary for shareholders to evaluate the propriety of the Board and Special Committee’s

oversight of the process and negotiation of the transaction terms.

III.   The Proxy Omits Material Information

       35.     In connection with the Proposed Transaction, Defendants filed a materially

incomplete and misleading Proxy with the SEC. The Individual Defendants were obligated to

carefully review the Proxy to ensure it did not contain any material misrepresentations or

omissions before it was filed and disseminated to the Company’s shareholders. However, the

Proxy misrepresents or omits material information necessary for the Company’s shareholders to

make an informed decision regarding the Proposed Transaction, in violation of Sections 14(a) and


                                                14
          Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 15 of 21




20(a) of the Exchange Act and SEC Rule 14a-9.

       36.     First, the Proxy fails to disclose sufficient information regarding the proposals the

Company received from Trulieve and Company A, and/or any other proposal it received in

connection with its evaluation of strategic alternatives, including but not limited to the draft letter

of intent between the Company and Trulieve and the Proposal Letter. The dearth of information

regarding the letter of intent and the Proposal Letter alone effectively prevents shareholders from

evaluating the process undertaken by the Board and Special Committee, as shareholders are unable

to determine whether the terms of the proposals materially differ from the Exchange Ratio and the

transaction contemplated by the Arrangement Agreement.

       37.     Second, the Proxy fails to disclose sufficient information regarding the powers and

authority of the Special Committee, including whether the Special Committee was empowered to

(i) reject a transaction with Trulieve and/or (ii) conduct any market outreach.

       38.     Third, the Proxy fails to disclose sufficient information concerning Haywood and

its financial analyses. More specifically, the Proxy entirely omits the financial analyses performed

by Haywood. And, while Haywood’s fairness opinion is included as Appendix “H” to the Proxy,

it merely includes a description of the analyses performed, and fails to disclose the assumptions

and inputs utilized by Haywood and the actual, quantitative results observed in the analyses. The

Proxy likewise fails to disclose sufficient information regarding the potential conflicts of interest

faced by Haywood in connection with its engagement. Although, as of the date of its fairness

opinion, “Haywood’s clients and members of its pro group h[eld] an aggregate 16,841,492

Subordinate Voting Shares of Harvest, 500,000 of Harvest’s 9.25% debentures due December 20

2022, and 5,228,750 Subordinate Voting Shares of Trulieve,” the Proxy fails to disclose whether

Haywood has previously performed additional services and/or received compensation from




                                                  15
            Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 16 of 21




Harvest, Trulieve, any Board member, and/or their respective associates and affiliates.

          39.   Fourth, the Proxy fails to disclose whether the confidentiality agreements executed

by the Company in connection with its evaluation of strategic alternatives included standstill

and/or DADW provisions and/or whether these provisions are still in effect.

                                                ***

          40.   In sum, and for the reasons described herein, the omission of the above-referenced

information renders the Proxy materially incomplete and misleading, in contravention of the

Exchange Act. Absent disclosure of the foregoing material information prior to the upcoming

Shareholder Vote concerning the Proposed Transaction, Plaintiff will be unable to make an

informed decision regarding whether to vote his shares in favor of the Proposed Transaction, and

he is thus threatened with irreparable harm, warranting the injunctive relief sought herein.

                                       CAUSES OF ACTION

                                              COUNT I

(Against All Defendants for Violations of Section 14(a) of the Exchange Act and Rule 14a-9)

          41.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          42.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).




                                                     16
          Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 17 of 21




       43.     Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications shall not contain “any statement which, at the time and

in the light of the circumstances under which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make the statements

therein not false or misleading.” 17 C.F.R. § 240.14a-9.

       44.     The omission of information from a registration statement will violate Section

14(a) and Rule 14a-9 if other SEC regulations specifically require disclosure of the omitted

information.

       45.     Defendants have issued the Proxy with the intention of soliciting the Company’s

public common stockholders’ support for the Proposed Transaction. Each of the Individual

Defendants reviewed and authorized the dissemination of the Proxy, which fails to provide critical

information regarding, inter alia, the process that culminated in the Proposed Transaction and

potential conflicts of interest faced by the Company’s financial advisor.

       46.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but

failed to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Proxy, but nonetheless failed to obtain and disclose such

information to the Company’s shareholders although they could have done so without

extraordinary effort.

       47.     The Individual Defendants knew or were negligent in not knowing that the Proxy

is materially misleading and omits material facts that are necessary to render it not misleading.




                                                17
          Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 18 of 21




The Individual Defendants undoubtedly reviewed and relied upon most if not all of the omitted

information identified above in connection with their decision to approve and recommend the

Proposed Transaction. Indeed, the Individual Defendants were privy to and had knowledge of the

process leading up to the signing of the Arrangement Agreement and preparation and review of

the Proxy. The Individual Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Proxy, rendering the sections of the Proxy

identified above to be materially incomplete and misleading.

       48.     The Individual Defendants were, at the very least, negligent in preparing and

reviewing the Proxy. The preparation of a proxy statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The

Individual Defendants were negligent in choosing to omit material information from the Proxy

Statement or failing to notice the material omissions in the Proxy Statement upon reviewing it,

which they were required to do carefully as the Company’s directors. Indeed, the Individual

Defendants were intricately involved in the process leading up to the signing of the Arrangement

Agreement and the preparation and review of the Proxy.

       49.     Harvest is also deemed negligent as a result of the Individual Defendants’

negligence in preparing and reviewing the Proxy.

       50.     The misrepresentations and omissions in the Proxy are material to Plaintiff, who

will be deprived of his right to cast an informed vote if such misrepresentations and omissions are

not corrected prior to the Shareholder Vote. Plaintiff has no adequate remedy at law. Only through

the exercise of this Court’s equitable powers can Plaintiff be fully protected from the immediate

and irreparable injury that Defendants’ actions threaten to inflict.




                                                 18
            Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 19 of 21




                                              COUNT II

  (Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act)

          51.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          52.   The Individual Defendants acted as controlling persons of Harvest within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Harvest, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

          53.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          54.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Proxy contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were thus directly involved in preparing this document.

          55.   In addition, as the Proxy sets forth at length, and as described herein, the Individual




                                                  19
          Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 20 of 21




Defendants were involved in negotiating, reviewing, and approving the Arrangement Agreement.

The Proxy purports to describe the various issues and information that the Individual Defendants

reviewed and considered. The Individual Defendants participated in drafting and/or gave their

input on the content of those descriptions.

       56.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       57.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       58.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily enjoining Defendants and all persons acting in concert with them

from proceeding with the Shareholder Vote or consummating the Proposed Transaction, unless

and until the Company discloses the material information discussed above which has been omitted

from the Registration Statement;

       B.      Directing the Defendants to account to Plaintiff for all damages sustained as a

result of their wrongdoing;

       C.      Awarding Plaintiff the costs and disbursements of this action, including reasonable




                                                 20
         Case 1:21-cv-06435-RA Document 1 Filed 07/28/21 Page 21 of 21




attorneys’ and expert fees and expenses; and

       D.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: July 28, 2021                                MONTEVERDE & ASSOCIATES PC
                                                    /s/ Juan E. Monteverde
                                                    Juan E. Monteverde (JM-8169)
                                                    The Empire State Building
                                                    350 Fifth Avenue, Suite 4405
                                                    New York, NY 10118
                                                    Tel: (212) 971-1341
                                                    Fax: (212) 202-7880
                                                    Email: jmonteverde@monteverdelaw.com

                                                    Attorneys for Plaintiff




                                                 21
